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EXHIBIT D

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William Duff
9723 Kitner Blvd. North Field, OH 44067 - Tel: 856-630-4087

September 3, 2014

Clerk of the District Court/NFL Concussion Settlement
US District Court Eastern District of Pennsylvania
United States Courthouse

601 Market Street

Philadelphia, PA 19106-1 797

Case No. 2:12-md-02323 -
Retired Player: William Duff Paid
DOB: February 24, 1974

Re: National Football League Players’ Concussion Injury Litigation fe G IE I VW [E j

By

Dear Judge Brody:

This letter is written in disagreement with the settlement of the NFL concussion
class action suit | am a part of. My main point of contention is regarding NFL Europe
play being excluded from the suit. NELE was fully funded and endorsed by all NFL
teams. They allocated players to the European teams and had brutal training camps along
with seasons. Having played for the Browns for one full vested season then playing for
the Berlin Thunder | can tell you the hits did not change. The head trauma was the same.
I would even say since there have been several all pro players that emerged from NFLE
the level of play was consistent with NFL season games.

Having a sliding scale of responsibility that excludes NFLE seasons from players’
benefits is a gross neglect of responsibility in this lawsuit. According to the current scale
a player (such as myself) who spent 2 seasons in NFLE went through four NFL training
camps but only has one vested season in the NEL, would only be eligible for 10% of total

benefits.
My timeline was as follows:

1998 49ers training camp

1999 Browns full season roster

2000 Browns sent me to NFLE Europe to play with Berlin
2000 Browns training camp

2001 XFL

2002 NFLE Berlin Thunder

2002 Lions training camp

2003-05 Arena football League
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This lawsuit settlement is meant to protect those affected by head trauma from
NFL play, and to state that they had no responsibility or hand in NFLE is a farce and
misleading principle. I am not the only player who spent time bouncing around NFL
rosters and over in Europe so I know some of my fellow football alumni would agree
with me in my disagreement.

Regards,
“CE G3 af, / y

William Duff
Whdutis0@imsn.com
856-630-4087

